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14                          UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15
     ESTATE OF RAFAEL RAMIREZ LARA, deceased,           Case No.: 4:21-cv-02409-PJH
16   by and through PATRICIA RAMIREZ; PATRICIA
     RAMIREZ; RAFAEL RAMIREZ; and JENNIFER
17   RAMIREZ,                                           JOINT NOTICE OF SETTLEMENT;
18                                                      [PROPOSED] ORDER
                         Plaintiffs,
19                           v.                         Trial Date: February 27, 2023
20   COUNTY OF MONTEREY; SHERIFF STEVE
     BERNAL, in his individual and official capacity;
21   JAMES BASS, in his individual and official
     capacity; JOHNATHAN THORNBURG, in his
22   individual and official capacity; RAY TONGOL, in
     his individual and official capacity; J. TEJEDA;
23   WELLPATH; KIP HALLMAN; JORGE
     DOMINICIS; THOMAS PANGBURN; PAUL
24   FRANCISCO; RAYMOND HERR and CHRISTINA
     KAUPP,
25
                        Defendants.
26
27
28
     JT NOTICE OF SETTLEMENT & [PROPOSED]
     ORDER
             Case 4:21-cv-02409-PJH Document 100 Filed 09/30/22 Page 2 of 3



 1   TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiffs ESTATE OF RAFAEL RAMIREZ LARA,
 3   deceased, by and through PATRICIA RAMIREZ; PATRICIA RAMIREZ; RAFAEL
 4   RAMIREZ; and JENNIFER RAMIREZ, and Defendants COUNTY OF MONTEREY;
 5   SHERIFF STEVE BERNAL, in his individual and official capacities; JAMES BASS, in his
 6   individual and official capacity; JOHNATHAN THORNBURG, in his individual and official
 7   capacity; RAY TONGOL, in his individual and official capacity; and J. TEJEDA, (collectively
 8   “County of Monterey Defendants”); and Defendants WELLPATH; KIP HALLMAN; JORGE
 9   DOMINICIS; THOMAS PANGBURN; PAUL FRANCISCO, RAYMOND HERR, and
10   CHRISTINA KAUPP (collectively, “Wellpath Defendants”), have agreed to a settlement of this
11   matter. The Parties are in the process of executing written settlement agreements. For this
12   reason, the Parties request that all trial and pretrial dates and related deadlines be taken off
13   calendar, with the Parties to execute final settlement agreements within 30 days of today, and
14   Plaintiffs to file a notice of dismissal of the action within 60 days. The Parties request that, upon
15   dismissal, the Court retain jurisdiction to enforce the settlement agreement reached in this matter.
16                                                  Respectfully Submitted,
17   Dated: September 30, 2022                      RIFKIN LAW OFFICE
18                                                  By: /s/ Lori Rifkin
19                                                        Lori Rifkin
                                                          Attorney for Plaintiffs
20
     Dated: September 30, 2022                      COUNTY OF MONTEREY COUNTY COUNSEL
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22                                                  By: /s/ Ellen S. Lyons
                                                          Janet L. Holmes, Assistant County Counsel
23                                                        Ellen S. Lyons, Deputy County Counsel
                                                          Attorneys for COUNTY OF MONTEREY
24                                                        Defendants

25   Dated: September 30, 2022                      BERTLING LAW GROUP
26                                                  By:     /s/ Jemma Parker Saunders
                                                            Peter G. Bertling
27                                                          Jemma Parker Saunders
                                                            Attorneys for WELLPATH Defendants
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      JT NOTICE OF SETTLEMENT & [PROPOSED]                  -1-
      ORDER
             Case 4:21-cv-02409-PJH Document 100 Filed 09/30/22 Page 3 of 3



 1                                        [PROPOSED] ORDER
 2           The Court, having considered the Parties’ above joint notice and good cause appearing,
 3   ORDERS as follows:
 4           All trial and pretrial dates and deadlines are taken off calendar with the Parties to execute
 5   final settlement agreements within 30 days, and Plaintiffs to file a notice of dismissal of the
 6   action within 60 days. The Court shall retain jurisdiction to enforce the settlement agreed to by
 7   the Parties in this matter.
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     IT IS SO ORDERED.
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     Dated: _______________, 2022.                         ________________________________
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                                                           PHYLLIS J. HAMILTON
11                                                         United States District Judge

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      JT NOTICE OF SETTLEMENT & [PROPOSED]                 -2-
      ORDER
